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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA
                             ANDERSON DIVISION

Shawn McCowan,                  )           C.A. No.:
                                )
              Plaintiff,        )
                                )
      vs.                       )           COMPLAINT
                                )
Prudential Insurance Company of )
America,                        )
                                )
              Defendant.        )


       The Plaintiff, complaining of the Defendants herein, would show unto this Honorable

Court as follows:

                                               I.

       Plaintiff is a citizen and resident of Anderson, South Carolina.

                                              II.

       Defendant is an insurance corporation organized and existing pursuant to the laws of

one of the States of the United States and which does business and owns property in

Anderson, South Carolina.

                                              III.

       In this matter, Plaintiff seeks dependent life insurance benefits under ERISA plan

pursuant to 29 U.S.C. § 1132(a)(1)(B) and this court has jurisdiction to consider this matter

based upon a federal question. Defendant is subject to jurisdiction in this court because it

has more than minimum contacts with this forum (see 29 U.S.C. § 1132(e)).




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                                              IV.

       Plaintiff’s decent, Leonard A. McCowan (hereinafter “Leonard”) was employed with

BellSouth Corporation and as an employee of BellSouth Corporation, Plaintiff’s was a

covered dependent under a group life insurance plan which was fully insured by the

Defendant. Besides being the insurer of the plan, Defendant is also the sole entity

responsible for determining whether claims such as the Plaintiff’s should be paid.

Accordingly, Defendant is the claim administrator and a fiduciary of the plan for the purpose

of deciding whether benefits are payable. As the claim administrator, insurer, and fiduciary

of the plan in which Plaintiff participated the Defendant is a proper party Defendant in the

matter sub judice wherein Plaintiff seeks benefits pursuant to ERISA 29 U.S.C.

§1132(a)(1)(B).

                                              V.

       Plaintiff is the named beneficiary of the group life insurance policy that insured the

life of Leonard A. McCowan. Unfortunately, Leonard passed away in December of 2020.

Plaintiff made a claim for dependent life insurance benefits.

                                              VI.

       Defendant denied Plaintiff’s claim. Plaintiff appealed the denial and fully exhausted

administrative remedies, but Defendant has failed and refused to provide additional benefits.

                                             VII,

       Defendant made its claim decision while operating under a conflict of interest which

significantly influenced the Defendant to deny Plaintiff’s claim. The Defendant’s decision

was not based upon substantial evidence or the result of a principled and reasoned decision-

making process. Instead, the Defendant’s decision was reached by Defendant ignoring
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relevant evidence pertaining to Plaintiff’s claim and, instead, relying upon biased

information and flawed expert opinions. Accordingly, Defendant operated under a conflict

of interest which improperly and significantly influenced its claim decision.

                               FOR A FIRST CAUSE OF ACTION

                                                 VIII.

          Plaintiff incorporates all prior allegations, where not inconsistent, as fully set forth

herein.

                                                  IX.

          Plaintiff respectfully requests that this Court consider the administrative record

compiled in this case and any other evidence relevant to any factors discussed by Champion

v. Black & Decker, 550 F.3d 353 (4th Cir. 2008), if applicable and depending on the standard

of review, and declare, pursuant to 29 U.S.C. §1132(a)(1)(B), that Plaintiff is entitled to the

benefits which he seeks under the terms of the plan. In the event that the court reviews the

record and/or other relevant information and determines that the Defendant abused its

discretion or that its decision is not supported by the record, but that the substance of the

record might not support Plaintiff’s entitlement to benefits then Plaintiff respectfully asks

that, in the event of such a finding, that the court exercise its inherent power to remand

Plaintiff’s claim for a “full and fair” review by the appropriate claim fiduciary Defendant.

Should the court award Plaintiff any part of the relief requested, Plaintiff additionally prays

that the Court award him attorney’s fees and costs pursuant to 29 U.S.C. §1132(g).

          WHEREFORE, having fully stated his complaint against the Defendant, Plaintiff

prays for a declaration of entitlement to the dependent group life insurance benefits he seeks

pursuant to 29 U.S.C. §1132(a)(1)(B), attorney’s fees and costs pursuant to 29 U.S.C.
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§1132(g), and such other and further relief as this Court deems just and proper, including

pre-judgment interest on all benefits due from the point at which benefits were payable

through the time of judgment.



                                           s/ Nathaniel W. Bax
                                           Nathaniel W. Bax, Esq.
                                           Federal Bar #: 09835
                                           FOSTER LAW FIRM, LLC
                                           PO Box 2123
                                           Greenville, SC 29602
                                           (864) 242-6200
                                           (864) 233-0290 (facsimile)
                                           E-mail: nbax@fosterfoster.com

Date: August 27, 2021                      Attorneys for Plaintiff




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